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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.
___0__   Valuation of Security ____0__ Assumption of Executory Contract or Unexpired Lease __0___ Lien Avoidance

                                                                                                      Last revised: August 1, 2020

                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEW JERSEY
In Re:                                                                             Case No.: 23-14244

WILLIAM ROYSTER,                                                                   Judge: MEISEL



                           Debtor(s)

                                                Chapter 13 Plan and Motions

         ☐ Original                           ☒ Modified/Notice Required                              Date:    October 24, 2023

         ☐ Motions Included                   ☐ Modified/No Notice Required



                                         THE DEBTOR HAS FILED FOR RELIEF UNDER
                                          CHAPTER 13 OF THE BANKRUPTCY CODE

                                                YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be affected by this
plan. Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may
be granted without further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may
confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions
to avoid or modify a lien, the lien avoidance or modification may take place solely within the chapter 13 confirmation process. The plan
confirmation order alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or
modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said
treatment must file a timely objection and appear at the confirmation hearing to prosecute same.


THE FOLLOWING MATTERS MAY BE OF PARTICULAR IMPORTANCE. DEBTORS MUST
CHECK ONE BOX ON EACH LINE TO STATE WHETHER THE PLAN INCLUDES EACH OF THE
FOLLOWING ITEMS. IF AN ITEM IS CHECKED AS “DOES NOT” OR IF BOTH BOXES ARE
CHECKED, THE PROVISION WILL BE INEFFECTIVE IF SET OUT LATER IN THE PLAN.

THIS PLAN:

☐ DOES ☒ DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10.

☐ DOES ☒ DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH
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MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN
PART 7, IF ANY.

☐ DOES ☒ DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST.
SEE MOTIONS SET FORTH IN PART 7, IF ANY.

Initial Debtor(s)’ Attorney: /s/ SDS          Initial Debtor: /s/ WR                 Initial Co-Debtor: _______________




   Part 1:      Payment and Length of Plan

          a. The debtor shall pay $2,164.00 per month to the Chapter 13 Trustee, starting on November 1, 2023 for
          approximately 43 months.

              The debtor shall pay $2,909.00 per month to the Chapter 13 Trustee, starting on June 1, 2027 for
          approximately 12 months.

          b. The debtor shall make plan payments to the Trustee from the following sources:

                  ☒       Future earnings

                  ☒       Other sources of funding (describe source, amount and date when funds are available):

           $8,760.00 paid in through October 31, 2023
                          Non Debtor spouse has a pending workers compensation case that may result in some recovery that
            would be available for contribution to the plan


            c. Use of real property to satisfy plan obligations:

                ☐ Sale of real property
                    Description:
                    Proposed date for completion: ____________________

               ☐ Refinance of real property:
                    Description:
                    Proposed date for completion: ____________________

               ☐ Loan modification with respect to mortgage encumbering property:
                    Description:
                    Proposed date for completion:

            d. ☐ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

            e. ☒ Other information that may be important relating to the payment and length of plan:

   The plan payment increase in the final 12 months of the plan commences when Debtor’s car payment drops off.

   Debtor and non-Debtor spouse have a pending mortgage assistance application that is on appeal.


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Part 2:      Adequate Protection ☐ NONE

      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
      b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: ______________________________ (creditor).



Part 3:      Priority Claims (Including Administrative Expenses)

 a.        All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                    Type of Priority                         Amount to be Paid

CHAPTER 13 STANDING                               ADMINISTRATIVE                        AS ALLOWED BY STATUTE
TRUSTEE

MINION & SHERMAN                                 ADMINISTRATIVE                         BALANCE DUE: $3,750.00


      b.   Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
           Check one:
           ☒ None
           ☐ The allowed priority claims listed below are based on a domestic support obligation that has been assigned
           to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
           U.S.C.1322(a)(4):

Creditor                                    Type of Priority                         Claim Amount   Amount to be Paid




Part 4:      Secured Claims

      a. Curing Default and Maintaining Payments on Principal Residence: ☐ NONE
      The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:
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Creditor             Collateral or         Arrearage             Interest Rate on        Amount to be         Regular Monthly
                     Type of Debt                                Arrearage               Paid to Creditor     Payment
                                                                                         (In Plan)            (Outside Plan)

Select Portfolio     380 Watsessing        $117,982.81           n/a                     $117,982.81          As per terms of
Servicing            Ave.                                                                                     note and
                     Bloomfield, NJ                                                                           mortgage
                     07003                                                                                    commencing
                                                                                                              June, 2023




b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: ☐ NONE
The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

 Creditor               Collateral or         Arrearage              Interest Rate on      Amount to be         Regular
                        Type of Debt                                 Arrearage             Paid to Creditor     Monthly
                                                                                           (In Plan)            Payment
                                                                                                                (Outside
                                                                                                                Plan)

 CAPITAL ONE            2015 GMC              $302.40                  n/a                  $302.40             As per terms
 AUTO FINANCE           ACADIA                                                                                  of agreement




c. Secured claims excluded from 11 U.S.C. 506: ☒ NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of
the petition date and secured by a purchase money security interest in any other thing of value:

    Name of Creditor                 Collateral           Interest           Amount of      Total to be Paid through the Plan
                                                            Rate              Claim          Including Interest Calculation




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      d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments ☒ NONE
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                             NOTE: A modification under this Section ALSO REQUIRES
                           the appropriate motion to be filed under Section 7 of the Plan.

Creditor            Collateral   Scheduled        Total          Superior Liens     Value of           Annual     Total
                                 Debt             Collateral                        Creditor           Interest   Amount
                                                  Value                             Interest in        Rate       to be
                                                                                    Collateral                    Paid




      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.

     e. Surrender ☒ NONE
      Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the
stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following collateral:

Creditor                                     Collateral to be Surrendered     Value of Surrendered       Remaining
                                                                              Collateral                 Unsecured Debt




      f. Secured Claims Unaffected by the Plan ☒ NONE
           The following secured claims are unaffected by the Plan:




g. Secured Claims to be Paid in Full Through the Plan: ☐ NONE

Creditor                                     Collateral                                    Total Amount to be
                                                                                           Paid Through the Plan

Castle Credit                                Furniture                                     $1,000.00
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Part 5:    Unsecured Claims ☐ NONE

       a. Not separately classified allowed non-priority unsecured claims shall be paid:
           ☐ Not less than $ _______________ to be distributed pro rata
           ☐ Not less than _______________ percent
           ☒ Pro Rata distribution from any remaining funds

      b. Separately classified unsecured claims shall be treated as follows:

Creditor                               Basis for Separate Classification    Treatment                     Amount to be Paid




Part 6:    Executory Contracts and Unexpired Leases ☒ NONE

    (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real
property leases in this Plan.)

       All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except
the following, which are assumed:

Creditor                 Arrears to be Cured in Nature of Contract or         Treatment by Debtor      Post-Petition Payment
                         Plan                   Lease



Part 7:    Motions ☒ NONE

NOTE: All plans containing motions must be served on all potentially affected creditors, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1.
A Certification of Service, Notice of Chapter 13 Plan Transmittal and valuation must be filed with the Clerk of
Court when the plan and transmittal notice are served.


       a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).           ☒ NONE
       The Debtor moves to avoid the following liens that impair exemptions:


Creditor                 Nature of         Type of Lien   Amount of   Value of      Amount of       Sum of All    Amount of
                         Collateral                       Lien        Collateral    Claimed         Other Liens   Lien to be
                                                                                    Exemption       Against the   Avoided
                                                                                                    Property




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      b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured. ☒ NONE

      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor          Collateral   Scheduled      Total           Superior Liens       Value of              Total Amount of
                               Debt           Collateral                           Creditor’s            Lien to be
                                              Value                                Interest in           Reclassified
                                                                                   Collateral




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. ☒ NONE
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:

Creditor          Collateral   Scheduled    Total             Amount to be                       Amount to be
                               Debt         Collateral        Deemed Secured                     Reclassified as Unsecured
                                            Value




Part 8:    Other Plan Provisions
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     a. Vesting of Property of the Estate
           ☒ Upon confirmation
           ☐ Upon discharge

      b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

       c. Order of Distribution
       The Standing Trustee shall pay allowed claims in the following order:
           1) Ch. 13 Standing Trustee commissions
           2) Attorney’s Fees ______________________________________________
           3) Secured Claims_______________________________________________
           4) General Unsecured Claims______________________________________

       d. Post-Petition Claims
       The Standing Trustee ☒ is, ☐ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
1305(a) in the amount filed by the post-petition claimant.




Part 9:     Modification ☐ NONE

NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be served
in accordance with D.N.J. LBR 3015-2.
If this Plan modifies a Plan previously filed in this case, complete the information below.
Date of Plan being modified: 5/18/2023

Explain below why the plan is being modified:                    Explain below how the plan is being modified:

Debtor and Debtor’s spouse income has been unsettled             The plan is being modified to deal with payment and
during the first few months of the plan causing Debtor to        treatment of certain secured claims that were not
fall behind with plan payments.                                  addressed in the original plan.




     Are Schedules I and J being filed simultaneously with this Modified Plan?          ☒ Yes         ☐ No


Part 10:     Non-Standard Provision(s): Signatures Required




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   Non-Standard Provisions Requiring Separate Signatures:

      ☒ NONE

      ☐ Explain here:

      Any non-standard provisions placed elsewhere in this plan are ineffective.



Signatures

The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s)
certify that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13 Plan
and Motions, other than any non-standard provisions included in Part 10.

I certify under penalty of perjury that the above is true


Date: 10/25/2023                                                     /s/ Scott D. Sherman
                                                                     Attorney for the Debtor




Date: 10/24/2023                                                     /s/ William Royster__
                                                                      Debtor



Date: ______________________________                                ______________________________
                                                                    Joint Debtor
